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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA
                                                          CRIMINAL ACTION
VERSUS
                                                          NO. 10-81-JJB
SAMUEL B. JOHNSON

                                     RULING

      This matter is before the Court on defendant Samuel Johnson’s motion

(doc. 187) for stay of sentence pending appeal. The government filed an

opposition (doc. 189). There is no need for oral argument. For the following

reasons, defendant’s motion is denied.

      Defendant seeks a stay of sentence pending appeal of a January 18,

2011, order of this court, which denied defendant’s motion to suppress. Under 18

U.S.C. § 3143, once a defendant has been sentenced to a term of imprisonment,

there is a presumption that he will be detained pending any appeal. See, e.g.,

United States v. Clark, 917 F.2d 177, 181 (5th Cir. 1990). The statute instructs

that the court “shall order” the defendant to be detained, unless the court finds:

         (A) by clear and convincing evidence that the person is not
         likely to flee or pose a danger to the safety of any other person
         or the community . . . and
         (B) that the appeal is not for the purpose of delay and raises a
         substantial question of law or fact likely to result in –
         (i) reversal,
         (ii) an order for a new trial,
         (iii) a sentence that does not include a term of imprisonment, or



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         (iv) a reduced sentence to a term of imprisonment less than the
         total of the time already served plus the expected duration of
         the appeal process.

18 U.S.C. § 3143(b).

      The court finds that defendant has failed to satisfy the prerequisites of §

3143. Defendant has not shown by clear and convincing evidence that he is

unlikely to flee. More importantly, the motion does not establish that defendant’s

appeal raises a substantial question that is “likely” to result in reversal, new trial,

or reduced sentence. See 18 U.S.C. § 3143(b)(1)(B). The court agrees with the

United States that, consistent with 18 U.S.C. § 3143, the defendant should begin

serving his sentence as previously ordered by the court.

      Accordingly, defendant Samuel Johnson’s motion (doc. 187) for stay of

sentence pending appeal is hereby DENIED.

      Signed in Baton Rouge, Louisiana, on August 3, 2011.


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                                   JUDGE JAMES J. BRADY
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                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF LOUISIANA




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